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               E-FILED 2017 JUN 14 11:29 AM POLK - CLERK OF DISTRICT COURT




                       IN THE IOWA DISTRICT COURT FOR POLK COUNTY

BRADLEY A. CHICOINE, D.C., DR.
BRADLEY A. CHICOINE, D.C., P.C.,
MARK A. NILES, D.C., NILES
CHIROPRACTIC, INC., ROD R.
REBARCAK, D.C., and BEN WINECOFF,
D.C., on behalf of themselves and those like
situated,

               Plaintiffs,
and

STEVEN A. MUELLER, D.C., BRADLEY
J. BROWN, D.C., BROWN
CHIROPRACTIC, P.C., MARK A KRUSE,
D.C., DR. MARK A. KRUSE, D.C., P.C.,
                                                  Law No. CVCV050638
KEVIN D. MUELLER, D.C., and LARRY
D. PHIPPS, D.C., on behalf of themselves
and those like situated,

               Plaintiffs,

vs.

WELLMARK, INC d/b/a WELLMARK
BLUE CROSS AND BLUE SHIELD OF
IOWA, an Iowa corporation, and
WELLMARK HEALTH PLAN OF IOWA,
INC., an Iowa corporation,

               Defendants.



                                MOTION TO INTERVENE


       COMES NOW Applicant Intervenor Blue Cross and Blue Shield Association

(“BCBSA”), and pursuant to Iowa R. Civ. P. 1.407(1), moves the Court for permission to

intervene as a matter of right in this case, for the following grounds and reasons:

1.     The name and address of the applicant intervenor defendant is:




                                                                                      EXHIBIT 4
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         a.       Blue Cross and Blue Shield Association, 225 Michigan Avenue, Chicago, IL
                  60601

2.       The applicant intervenor defendant is the owner of the famous Blue Cross® and Blue

         Shield® trademarks, 1 and licenses those trademarks to a national federation of thirty-six

         Blue Cross and Blue Shield companies (“Blue Plans”), including named defendant

         Wellmark, Inc., d/b/a Wellmark Blue Cross and Blue Shield of Iowa and Wellmark

         Health Plan of Iowa, Inc. (“Wellmark”). Collectively, the thirty-six Blue Plans provide

         healthcare coverage for more than 100 million Americans.

3.       According to Plaintiffs’ complaint, Wellmark, Blue Cross and Blue Shield Association

         (“BCBSA”), BCBSA’s other 35 Blue Plan licensees, and some of Wellmark’s customers

         have conspired to suppress fees for chiropractors in violation of the Iowa Competition

         Act. Specifically, Plaintiffs challenge BCBSA’s licensing structure and the rules and

         procedures governing its BlueCard Program.

4.       Under Iowa Rule of Civil Procedure 1.407(1), anyone shall be permitted to intervene in

         an action “[w]hen the applicant claims an interest relating to the property or transaction

         which is the subject of the action and the applicant is so situated that the disposition of

         the action may as a practical matter impair or impede the applicant's ability to protect that

         interest, unless the applicant's interest is adequately represented by existing parties.”

         Iowa R. Civ. P. 1.407(1)(b). “The court shall grant interventions of right unless the

         applicant’s interest is adequately represented by existing parties.” Iowa R. Civ. P.

         1.407(4).




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     Use of these trademarks includes both the design marks and the trade name.



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5.   BCBSA has a substantial legal interest in defending its trademarks, licensing structure,

     and BlueCard program. BCBSA’s ability to protect its interests will necessarily be

     impacted by disposition of this action.

6.   Wellmark may not adequately represent BCBSA’s interests because BCBSA is the sole

     owner and licensor of the Blue Cross® and Blue Shield® trademarks. BCBSA is also the

     exclusive administrator of the BlueCard Program. The remedy for the alleged harm

     sought, if granted, necessarily would affect BCBSA’s license agreements across the

     country, as well as the BlueCard Program.

7.   Allowing BCBSA to intervene will not unduly delay the adjudication of the rights of the

     original parties and will not prejudice any of the original parties.

8.   In the alternative, the Court should allow BCBSA to intervene under Iowa Rule of Civil

     Procedure 1.407(2). An application for intervention is allowed “[w]hen an applicant’s

     claim or defense and the main action have a question of law or fact in common.” Iowa R.

     Civ. P. 1.407(2)(b). As in dozens of suits across the country that have been consolidated

     into a federal Multi-District Litigation, plaintiffs implicate BCBSA as an alleged co-

     conspirator with defendant Wellmark and the other Blue Plans. Moreover, the fact that

     both Wellmark and BCBSA are already defending the validity of BCBSA’s licensing

     system and BlueCard program in dozens of similar suits further demonstrates the

     connection between BCBSA’s interests and the claims and defenses in the current

     litigation. This justifies BCBSA’s permissive intervention.

9.   This motion is supported by the accompanying brief in support.




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Dated: June 14, 2017                    DICKINSON, MACKAMAN, TYLER &
                                        HAGEN, P.C.

                                        /s/ Joan M. Fletcher
                                        Jeffrey A. Krausman
                                        Joan M. Fletcher
                                        699 Walnut Street, Suite 1600
                                        Des Moines, Iowa 50309-3986
                                        Telephone: 515-246-4518
                                        Fax: 515-246-4550
                                        jkrausman@dickinsonlaw.com
                                        jfletcher@dickinsonlaw.com

                                        Counsel for Blue Cross and Blue Shield Association




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing instrument was served upon all parties

to the above cause or to each of the attorneys of record herein at their respective addresses

disclosed on the pleadings on the 14th day of June, 2017.


By:    ____ U.S. Mail                ____ Facsimile         ____ Hand Delivery

       ____ Overnight Courier        ____ Fedex or UPS      ____ E-mail             X eFiling



                                                    /s/ Joan M. Fletcher
                                                    Joan M. Fletcher



Glenn L. Norris AT0005907                           Hayward L. Draper
HAWKINS & NORRIS, P.C.                              Benjamin P. Roach
2501 Grand Avenue, Suite C                          NYEMASTER GOODE, P.C.
Des Moines, Iowa 50312-5399                         700 Walnut Street, Suite 1600
Telephone: 515-288-6532                             Des Moines, IA 50309
Facsimile: 515-281-1474                             Telephone: (515) 283-3100
Email: gnorris@2501grand.com                        Facsimile: (515) 283-8045
                                                    Email: hdraper@nyemaster.com
Steven P. Wandro                                    Email: bproach@nyemaster.com
Kara M. Simons
Alison F. Kanne                                     Counsel for Defendants, Wellmark, Inc.
WANDRO & ASSOCIATES, P.C.                           d/b/a Wellmark Blue Cross and Blue Shield
2501 Grand Avenue                                   of Iowa, and Wellmark Health Plan of Iowa,
Des Moines, IA 50312                                Inc.
Telephone: (515) 281-1475
Facsimile: (515) 281-1474
Email: swandro@2501grand.com
Email: ksimons@2501grand.com
Email: akanne@2501grand.com


Counsel for Plaintiffs
